

Matter of Gworek v Gworek (2018 NY Slip Op 00991)





Matter of Gworek v Gworek


2018 NY Slip Op 00991


Decided on February 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 9, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., CARNI, DEJOSEPH, NEMOYER, AND TROUTMAN, JJ.


157 CAF 16-01103

[*1]IN THE MATTER OF JERRY W. GWOREK, PETITIONER-APPELLANT,
vMARY M. GWOREK, RESPONDENT-RESPONDENT. (APPEAL NO. 2.) 






DEBORAH J. SCINTA, ORCHARD PARK, FOR PETITIONER-APPELLANT. 
ELIZABETH CIAMBRONE, BUFFALO, FOR RESPONDENT-RESPONDENT.
CATHERINE E. MARRA, ATTORNEY FOR THE CHILD, BUFFALO.
MINDY L. MARRANCA, ATTORNEY FOR THE CHILDREN, BUFFALO.


	Appeal from an order of the Family Court, Erie County (Lisa Bloch Rodwin, J.), entered April 6, 2016 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition seeking to modify the parties' existing order of custody and visitation. 
It is hereby ORDERED that said appeal is unanimously dismissed
without costs.
Same memorandum as in Matter of Gworek v Gworek ([appeal No. 1] — AD3d — [Feb. 9, 2018] [4th Dept 2018]).
Entered: February 9, 2018
Mark W. Bennett
Clerk of the Court








